                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


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                                                     September 22, 2022

BY ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Trevor Milton, S1 21 Cr. 478 (ER)

Dear Judge Ramos:

         The Government writes in opposition to the defendant’s September 21, 2022, letter motion
objecting to the testimony of individual retail investors. The eleventh-hour motion comes on the
eve of testimony of a class of witnesses who have been on the Government’s witness list since
well prior to trial. The defendant’s motion significantly misstates the law and would have the Court
preclude witnesses from testifying because they did not read a prospectus or a press release—an
outcome unsupported by, and in fact contrary to, legal precedent. This is all the more so here,
where the witness testimony and documents in evidence demonstrate that the defendant targeted
retail investors—particularly individuals who trade through online brokerage accounts and phone
applications like Robinhood—which therefore makes testimony from those witnesses highly
relevant to proving materiality. The motion should be denied.

   I. Factual Background

       The evidence adduced at trial has demonstrated that after Nikola announced a business
combination in March 2020 that would take the company public, the defendant made false
statements on social media, during television interviews, and on podcasts in order to convince
investors to buy his company’s stock. Those misrepresentations were targeted at retail investors,
and the evidence has been overwhelming, and not meaningfully disputed on that point. The
evidence has also demonstrated that the defendant targeted this investor class in order to increase
his company’s share price.

       The defendant “had a large following of retail investors and individuals” that were buying
the company’s stock. (Tr. 1084.) He was “excited about and focused on” the retail investors. (Tr.
1086.) For instance, he bragged on a podcast that by going public, Nikola “let the retail investors
come in . . . they get to ride the ride with us and that’s the advantage.” (GX-425.) He “would
sometimes say the Robinhood wing of the market or the Robinhood investors” were “the kind of
investor he was targeting.” (Tr. 1089.) Those are “people who tend to be retail investors or people
who are investing maybe without the help of a bank or a brokerage.” (Tr. 1195.) Milton took
credit for “bring[ing] the retail investors,” and “would say that he was a very effective
communicator and was able to utilize social media and other mediums to be able to communicate
with the average investor.” (Tr. 963.) Those communications were focused “more [on] retail”
than institutional investors. (Tr. 1169.) And the defendant understood that the changes in Nikola’s
stock price were “coming from retail investors, individuals who were trading from their own
account.” (Tr. 963.) In one email to members of the board the day before Nikola announced its
business combination, Milton wrote, “We … need to make sure we are getting retail investors on
our side. That is what prevents the stock short selling. This is super important to me.” (GX-224.)

         The Government also anticipates that the jury will hear additional evidence about how the
defendant was targeting retail investors, and who those investors were, from Kim Brady, who will
testify later this week.

         The Government intends to call multiple retail investor witnesses who are expected to
testify that they heard the defendant’s statements on television, podcasts, and/or on social media;
they purchased Nikola’s stock; and that the defendant’s statements were significant information in
making their investment decisions. Understandably, these witnesses would testify, if asked, that
they did not review every single corporate filing, press release, website post, article, tweet,
television program, or podcast in the universe about Nikola. But they will testify that they made
considered investment decisions after hearing the defendant’s statements. To be clear, none of
them invested as a result of random chance, without any information, or as a result of some wholly
idiosyncratic view.

   II. Retail Investor Testimony Is Relevant and Admissible

       A. Applicable Law

        Evidence is relevant if “it has any tendency to make a fact more or less probable than it
would be without the evidence; and . . . the fact is of consequence in determining the action.” Fed.
R. Evid. 401. “To be relevant, evidence need only tend to prove the government’s case,
and evidence that adds context and dimension to the government’s proof of the charges can have
that tendency.” United States v. Gonzalez, 110 F.3d 936, 941 (2d Cir. 1997). So long as evidence
has “any tendency to make the existence of any fact that is of consequence to the determination of
the action more probable or less probable that it would be without the evidence,” it is relevant.
United States v. Quinones, 417 Fed. Appx. 65, 68 (2d Cir. 2011).

       A conviction for securities fraud pursuant to 15 U.S.C. § 78j(b), which is the offense
charged in Count One of the Superseding Indictment, requires proof that, among other things, the
defendant made a material misrepresentation. “A misstatement in a securities transaction is
material if there is ‘a substantial likelihood that a reasonable investor would find the . . .
misrepresentation important in making an investment decision.’” United States v. Gramins, 939
F.3d 429, 444-45 (2d Cir. 2019) (quoting United States v. Litvak, 889 F.3d 56, 64 (2d Cir. 2018)).

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“A misrepresentation is important to a reasonable investor, in turn, if there is ‘a substantial
likelihood that the disclosure of the omitted fact would have been viewed by the reasonable
investor as having significantly altered the ‘total mix’ of information made available.’” Id.
(quoting Basic Inc. v. Levinson, 485 U.S. 224, 231-32 (1988)).

         The nature of a “reasonable investor” “may vary . . . with the nature of the traders involved
in the particular market.” Litvak, 889 F.3d at 64. Litvak, the case principally relied on by the
defendant, illustrates this point. There, a broker-dealer who traded in residential mortgage-backed
securities was charged with lying to his trading counterparties—large investment managers with
trillions of dollars under management—about the prices at which he was purchasing bonds. Id. at
59-63. At trial, the government called two employees of sophisticated investment firms that
testified that the defendant was in fact their agent—a “critical point” of testimony that all parties
eventually conceded was not factually or legally correct. Id. at 63-64. The defendant was
convicted but the Second Circuit vacated the judgment and remanded for a new trial. The Second
Circuit rejected the defendant’s categorical challenge to materiality, and held that testimony from
victims about “their own point of view” was “permissible in a case like this . . . so long as the
testimony about the significance of the content of a defendant’s misstatement and each trader’s
‘point of view’ is shown to be within the parameters of the thinking of reasonable investors in the
particular market at issue.” Id. at 65. In other words, the Circuit added, “there must be evidence
of a nexus between a particular trader’s viewpoint and that of the mainstream thinking of investors
in that market.” Id. The problem in Litvak, then, was that “the lack of agency relationship [was]
undisputed,” so the investor’s “wrong” and “incorrect” point of view were not “relevant to prove
what a reasonable investor, neither confused nor incorrect, would have deemed important.” Id. at
69. Therefore, the court concluded, “[w]hile the individual views of a counterparty trader may
usually be relevant to the nature of the market involved and as to the beliefs of a reasonable
investor, a reasonable investor would not misperceive the role of a broker-dealer in the RMBS
market.” Id.

        Following Litvak, another broker defendant challenged his conviction on the ground that
the counterparty witness’s testimony suffered from the same relevancy problems articulated in
Litvak. See Gramins, 939 F.3d at 448-50. But in Gramins, the counterparty witness testified about
the materiality of the defendant’s misrepresentations without erroneous citation to an agency
relationship. Distinguishing Litvak based on its unusual facts, the Second Circuit held that because
the point of view of the investor was not “admitted to be wrong” and therefore not “erroneous or
idiosyncratic,” it “did not fall within the specific category of irrelevant testimony prescribed by
Litvak” and was relevant to the issue of materiality. Id. at 450.

        There are three takeaways from Litvak and Gramins that direct the outcome here. First,
“individual views” of investors “may usually be relevant to the nature of the market involved and
as to the beliefs of a reasonable investor.” Litvak, 889 F.3d at 69; Gramins, 939 F.3d at 449-50.
Second, the particular market matters in assessing the reasonableness of investors. Thus, “[t]he
reasonable investor in a market in which many individual investors trade will be deemed to be
somewhat less schooled and sophisticated than a reasonable investor in a market,” like the one in
Litvak, “in which only institutions trade with the help of complex computer programs and
professional traders.” Litvak, 889 F.3d at 69. Third, “point of view” testimony from an investor



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in a market does not “fall within the specific category of irrelevant testimony” unless it is so
“erroneous or idiosyncratic” that it is “admitted to be wrong.” Gramins, 939 F.3d at 450.

       B. Discussion

        Here, the testimony of retail investors into Nikola’s stock is plainly relevant to the
materiality issue at trial. Unlike in Litvak, the relevant market here is the public stock market, and
in particular retail traders who trade on their own, and buy and sell through web platforms like
Robinhood. Thus, the focus for the jury will be whether a reasonable investor in the public, retail
market for Nikola’s stock deemed the defendants’ misstatements material. Litvak, 889 F.3d at 69;
Gramins, 939 F.3d at 449-50. The Government witnesses are quintessential retail investors—there
is nothing idiosyncratic about how or why they invested. They did not harbor any erroneous beliefs
about investing—that is, besides believing the defendant’s false statements.

         The defendant argues that these witnesses should be precluded because their expected
testimony does not reflect “that of the mainstream thinking of investors in [the NASDAQ] market.”
(Dkt. No. 181 (quoting Litvak, 889 F.3d at 65).) There are several problems with this argument.
First, the defendant’s parenthetical insertion of “the NASDAQ” before “market” in a quote from
Litvak is telling. Litvak does not say mainstream thinking of everyone in the entire stock market.
It says mainstream thinking of investors in “the particular market at issue,” which here is the retail
investor market. Id. at 65. The Second Circuit’s instruction that who and how “schooled and
sophisticated” a “reasonable investor” is depends on the market makes the point that a “market” is
not the entire universe of all investors public and private. In other words, there is a clear nexus
between the types of investors that the defendant was targeting—retail investors—and the
testimony from these witnesses who are mainstream retail investors.

       Second, the notion that there is some sort of sophistication or IQ test for determining
whether an investor is a reasonable investor is belied by precedent and the purpose of the securities
laws. The securities laws were enacted and exist to protect everyday investors from market abuses.
The antithesis of that purpose is the defendant’s proposed rule: that less sophisticated investors,
who do not read SEC filings, are not reasonable investors and are therefore fair game for
manipulation, fraud, and abuse without consequence. The law, of course, holds otherwise. If not,
“the legality of a defendant’s conduct would depend on his fortuitous choice of a gullible
victim.” United States v. Thomas, 377 F.3d 232, 243 (2d Cir. 2004) (citations omitted).

        Third, the defendant offers nothing other than pure ipse dixit for the claim—contrary to
both common sense and the testimony of multiple witnesses in this trial—that an investor who
does not read every SEC filing is outside the mainstream thinking of investors in a public market
like the NASDAQ, and the cases cited by the defendant for the proposition that victim retail
investors somehow failed by not reading Nikola’s prospectus or all of Nikola’s press releases are
taken out of context. The decision in In re Ames Dep’t Stores Inc. Stock Litig., 991 F.2d 953, 963
(2d Cir. 1993), does not support the defendant’s position—it says the opposite. There, a group of
shareholders of Ames Department Stores sued the company for “disseminat[ing] 32 documents or
statements into the market for Ames securities which contained false and misleading statements
concerning Ames’s financial health.” Id. at 956. In addition to two prospectuses, the plaintiffs
alleged that “false reports, news releases, and other statements paint[ed] quite a rosy picture of

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Ames’s profitability and future,” which was false. Id. Focusing only on the prospectuses, the
district court dismissed the class action, disregarding other statements “directed to the general
investing public” that the plaintiffs alleged “independently violated Rule 10b-5.” Id. The Second
Circuit in Ames held that the district court erred by only looking at the prospectuses since such a
view “would eliminate the vast majority of private Rule 10b–5 actions and subvert the 1934 Act’s
efforts to protect investors from deliberate fraud.” Id. at 963. It was in that context that the Circuit
endorsed a broader view of what types of statements could be material: “The securities markets
are highly sensitive to press releases and to information contained in all sorts of publicly released
corporate documents, and the investor is foolish who would ignore such releases.” Id. In other
words, Ames does not hold that investors are per se unreasonable for not consulting press releases.
Rather, the half-sentence quoted by the defendant—“the investor is foolish who would ignore such
releases”—was plainly commentary by the court that a myopic view of what is material disregards
the realities of what investors actually look at.

        The two other cases cited by the defendant about prospectuses also miss the mark. In La
Pietra v. RREEF Am., L.L.C., 738 F. Supp. 2d 432, 441 (S.D.N.Y. 2010), the plaintiffs invested in
a close-end investment fund and then sued the funds’ managers. Notably, the case did not involve
material misstatements; only omissions. The defendant argued that the funds’ prospectuses should
be considered to be part of the total mix of information, and the court, given the context,
unsurprisingly agreed. Id. at 441. As in La Pietra, the plaintiffs in Brown v. E.F. Hutton Group,
Inc., 991 F.2d 1020, 1032 (2d Cir. 1993), were purchasers of an interest in a limited partnership,
and the court found that the prospectus was an important document in the total mix of information.
In both of these cases, the prospectuses were particularly important because the plaintiffs were not
investing in publicly-traded companies, for which there is a lot of information, but rather specific
investment vehicles where the prospectus is the principal document containing investment
information. Even still, there is nothing in La Pietra or Brown that holds that an investor is
unreasonable, idiosyncratic, or has acted erroneous by not reviewing a prospectus. And the
Government is not aware of a single case that has held that an individual purchasing stock in a
publicly-traded company is not a “reasonable investor” because she or he did not review a
particular SEC filing, including the prospectus. See, e.g., S.E.C. v. Mozilo, No. 09 Civ. 3994
(JFW), 2010 WL 3656068, at *9 (C.D. Cal. Sept. 16, 2010) (“a reasonable investor is not required
to pore through all prior transcripts of earnings calls, review hundreds of prospectus supplements
filed by indirect subsidiaries, or “connect the dots” in a company's various SEC filings”).

       If anything, based on the evidence that has come into trial to date, the more appropriate
question—likely for another day—is whether voluminous SEC filings not necessarily directed at
or considered by retail investors should be counted as part of the total mix of information.

        Ultimately, whether a misstatement is material is a jury question, and it will be for the jury
to determine whether a reasonable investor would find the defendant’s misrepresentations
important in making decisions to purchase Nikola’s stock. The victim investors’ testimony will
be relevant to the jury’s determination of that question, and therefore the testimony is admissible.

       Finally, the Government notes that the defendant’s motion is directed only to Count One
of the Superseding Indictment, which charges securities fraud under Title 15. Even if the
defendant’s position were correct—and it is not—the retail investor witnesses’ testimony would

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still be highly relevant to the wire fraud charge. See United States v. Weaver, 860 F.3d 90, 95 (2d
Cir. 2017) (“The role of the ordinary prudence and comprehension standard in the materiality
element is to assure that the defendant’s conduct was calculated to deceive, not to grant permission
to take advantage of the stupid or careless.”).


                                                     Respectfully submitted,

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